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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF CONNECTICUT


BBAM AIRCRAFT MANAGEMENT LP,                         CASE NO. 3:20-cv-01056-OAW
and BBAM US LP

                       Plaintiff,

       v.

BABCOCK & BROWN LLC, BURNHAM
STERLING & COMPANY LLC, BABCOCK &
BROWN SECURITIES LLC, BABCOCK &
BROWN INVESTMENT MANAGEMENT LLC,

                       Defendants.


                      AFFIDAVIT IN SUPPORT OF MOTION FOR
                  PRO HAC VICE ADMISSION OF MICHAEL J. ALLAN

       I, Michael J. Allan, on oath, and under penalties of perjury, as set forth in 18 U.S.C.

1001, state, as follows:

       1.      I am currently a Partner at Steptoe LLP, 1330 Connecticut Avenue, NW

Washington, DC 20036, phone number 202-429-6749, facsimile 202-429-3902, e-mail

mallan@steptoe.com;

       2.      I make this affidavit pursuant to L. Civ. P. R. 83.1(d), and seek admission in this

case to represent the Defendants, Babcock & Brown LLC, Burnham Sterling & Company LLC,

Babcock & Brown Securities LLC, Babcock & Brown Investment Management LLC;

       3.      I am currently a member in good standing of the bar of the United States District

of Columbia, bar #470278, which is the location of my primary office.

       I am also admitted to the bar of the following courts:

       New York State, bar #2929891;
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       United States District Court for the Northern District of New York, bar #510108;

       United States District Court for the Southern District of New York, MA8285;

       United States Court of Appeals, Federal Circuit admitted 1/16/2009; and

       United States Court of Appeals, Second Circuit admitted 05/31/2017

Where bar numbers are omitted, no bar number has been assigned by the court. I have never

been a member of another bar;

       4.      I have no pending disciplinary complaints as to which a finding has been made

that such complaint should proceed to a hearing;

       5.      I have not been denied admission to, been disciplined by, resigned from,

surrendered a license to practice before, or withdrawn an application for admission to practice

while facing a disciplinary complaint before this Court or any other court;

       6.      I have fully reviewed and am familiar with the Federal Rules of Civil Procedure,

the Local Rules of the United States Court for the District of Connecticut, and the Connecticut

Rules of Professional Conduct;

       7.      I designate my sponsoring attorney, Michael J. Rye, Cantor Colburn LLP, 20

Church Street, 22nd Floor, Hartford, Connecticut 06103; telephone number (860) 286-2929;

facsimile number (860) 286-0115; and email address mrye@cantorcolburn.com as my agent for

service of process and the District of Connecticut as the forum of resolution of any dispute

arising out of my admission to this Court under this Local Rule 83.1(d); and

       8.      I make this affidavit based on my own personal knowledge.



Dated: February 17, 2022                             By:    /s/ Michael J. Allan___
                                                            Michael J. Allan, Esq.




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